               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF WISCONSIN
                       MILWAUKEE DIVISION

MATTHEW SCHOENECKER,                  )
                                      )
      Plaintiff,                      )        CIVIL ACTION FILE NO.
                                      )
v.                                    )        18-CV-00555
                                      )
JOHN KOOPMAN,                         )
Individually and in is official       )
Capacity as Principal of Markesan     )
High School,                          )
      Defendant.                      )

        CONSENT JUDGMENT FOR PERMANENT INJUNCTION

      Plaintiff Matthew Schoenecker (“Schoenecker”) and Defendant John

Koopman, individually and in his official capacity as Principal of Markesan High

School, together with his heirs, successors and assigns, and the agents, employees,

and staff of Markesan Schools (“Koopman”) consent to the entry of this Judgment

as a resolution of all outstanding issues among them.

      Koopman is hereby ENJOINED from restricting Matthew Schoenecker from

wearing of clothing at Markesan High School that depicts weapons, describes

weapons, names weapons, or mentions weapons, provided that the depictions,

descriptions, names, or mentions do not include advocating or implying the violent

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or illegal use of weapons or threatening the violent or illegal use of weapons. In this

injunction, “restricting” means taking disciplinary action against Matthew

Schoenecker for wearing of clothing, commenting to Matthew Schoenecker while

wearing such clothing about the contents of the matters depicted in the clothing,

enforcing a dress or other policy on account of Matthew Schoenecker’s wearing of

the clothing, or otherwise taking action against or disparaging Matthew Schoenecker

on account of his wearing of the clothing. The terms of this consent judgment expire

upon Matthew Schoenecker’s graduation from Markesan High School or when he

ceases to be a student enrolled in Markesan District Schools, whichever is earlier.

      If Koopman restricts Matthew Schoenecker from wearing of any clothing

pursuant to the exception of this injunction, Koopman shall, within two school days

of such restriction, state in writing the specific reasons for such restriction and

deliver such reasons to Matthew Schoenecker. Upon receipt of Koopman’s written

reasons for the restriction, Matthew Schoenecker shall, within two school days,

notify Koopman in writing of his specific reasons for disagreement and his intent to

pursue relief under the terms of this consent judgment. Should Matthew Schoenecker

elect to pursue relief under the terms of this Consent Judgment, he shall commence



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such action with this Court within seven business days of notifying Koopman in

writing of his intent to do so, or any such right and ability shall be waived.

      Upon entry of this Judgment, the clerk shall terminate this case.

By the Court:

Dated: May 15, 2019

                                               s/Lynn Adelman
                                                  Lynn Adelman, Judge
                                                  U.S. District Court

Consented to by:

                                        ___/s/ John R. Monroe_____________
                                        John R. Monroe
                                        John Monroe Law, P.C.
                                        156 Robert Jones Road
                                        Dawsonville, GA 30534
                                        Telephone: (678) 362-7650
                                        jrm@johnmonroelaw.com

                                        ATTORNEY FOR PLAINTIFF




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                                 /s/ Sara C. Mills (by JRM with permission)
                                 Sara C. Mills
                                 Crivello Carlson, S.C.
                                 710 N. Plankinton Ave., Suite 500
                                 Milwaukee, WI 53203

                                 ATTORNEY FOR DEFENDANT




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